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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


NATIONAL RIFLE ASSOCIATION OF AMERICA,

                                                    Plaintiff,
                                                                       ANSWER TO SECOND
                          -against-                                   AMENDED COMPLAINT

ANDREW CUOMO, both individually and in his official                           18-CV-0566
capacity; MARIA T. VULLO, both individually and in her
official capacity; and THE NEW YORK STATE                                       TJM/CFH
DEPARTMENT OF FINANCIAL SERVICES,

                                                 Defendants.


       Defendant Andrew Cuomo by his attorney, Letitia James, Attorney General of the State of

New York, William A. Scott, Assistant Attorney General, of counsel, answer the second amended

complaint (“Complaint”) 1 as follows:

                  NATIONAL RIFLE ASSOCIATION OF AMERICA’S
                SECOND AMENDED COMPLAINT AND JURY DEMAND

       Complaint text: Plaintiff the National Rifle Association of America (the “NRA”) files

this Second Amended Complaint and Jury Demand (“Complaint”) against defendants New York

Governor Andrew Cuomo (“Cuomo”), both individually and in his official capacity; Maria T.

Vullo (“Vullo”), both individually and in her former official capacity; and the New York State




1
 Defendant answers the Complaint with the understanding that the Order filed by this Court on
March 15, 2021, Dkt. No. 322, in addition to the Court’s prior orders in this matter, modifies the
Complaint, such that Plaintiff’s claims against the Department of Financial Services, Supt.
Lacewell in her official capacity and Governor Cuomo in his official capacity have all been
dismissed. That the Plaintiff’s claims for injunctive and declaratory relief have all been dismissed.
That the Plaintiff’s selective enforcement claim has been dismissed in its entirety. See Dkt. No.
322.
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Department of Financial Services (“DFS”) (collectively, “Defendants”), upon personal

knowledge of its own actions, and upon information and belief as to all others matters, as

follows:


        Response: Plaintiff’s unnumbered introductory paragraph is a statement of the case to

which no response is required. To the extent a response is required, Defendant denies the

allegations in this paragraph to the extent they allege that Defendants engaged in any wrongdoing

or violated any of Plaintiff’s rights.

                             I.      PRELIMINARY STATEMENT

        Response: Plaintiff’s unnumbered paragraphs constituting the “Preliminary Statement” set

forth a further statement of the case, legal arguments and/or legal conclusions, and questions of

law; accordingly, no response is required. To the extent a response is required, Defendant denies

that he engaged in any wrongdoing or violated any of Plaintiff’s rights.

                                         II.    PARTIES

        Paragraph 1: Plaintiff the National Rifle Association of America is a nonprofit

corporation organized under the laws of the State of New York with its principal place of business

in Fairfax, Virginia. The NRA is America’s leading provider of gun-safety and marksmanship

education for civilians and law enforcement. It is also the foremost defender of the Second

Amendment to the United States Constitution. The NRA has over five million members, and its

programs reach millions more.

        1.      Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

        Paragraph 2: Defendant New York State Department of Financial Services is an agency

of the State of New York that regulates financial services firms operating in New York in order to

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guard against financial crises and to protect New York consumers and markets from fraud. DFS

has a regional office at One Commerce Plaza, Albany, New York 12257. Its main office is located

at One State Street, New York, New York 10004-1511. It regulates more than 1,400 insurance

companies with assets in excess of $4.3 trillion, including 200 life insurers, 1,100 property casualty

insurers, and 100 health insurance companies. DFS also regulates over 1,900 banking and other

financial institutions with assets over $2.9 trillion.

        2.      Response: Defendant admits the allegations contained in this paragraph of the

Complaint.

        Paragraph 3: Defendant Maria T. Vullo is the former Superintendent of the New York

State Department of Financial Services and, at all times relevant to the Complaint, was acting

under color of state law. Her principal place of business is 40 West 77th Street, Apt. 16 B, New

York, New York 10024. Vullo is sued in her individual and official capacities.

        3.      Response: Defendant admits that Defendant Vullo: is the former Superintendent of

DFS; and, at all times relevant to the Complaint, acted in her official capacity. Defendant denies

the remaining allegations contained in this paragraph of the Complaint.

        Paragraph 4: Defendant Andrew Cuomo is the Governor of the State of New York and,

at all times relevant to the Complaint, was acting under color of state law. His principal place

of business is The State Capitol Building, Albany, New York 12224. Cuomo is sued in his

individual and official capacities.

        4.      Response: Defendant admits that Defendant Cuomo: is the Governor of the State

of New York; maintains an office in the State Capitol Building, Albany, New York 12224; and, at

all times relevant to the Complaint, acted in his official capacity. Defendant denies the remaining

allegations contained in this paragraph of the Complaint.


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                             III.    JURISDICTION AND VENUE

        Paragraph 5: Pursuant to 28 U.S.C. § 1331, the Court has subject matter jurisdiction

 over the claims asserted in this action because this action involves claims based on the First and

 Fourteenth Amendments to the United States Constitution (U.S. Const. amend. I, XIV), and

 because the action seeks to prevent state officials from interfering with federal rights. Further,

 subject matter jurisdiction is conferred on this Court by 28 U.S.C. § 1343(a)(3) because this

 action is brought to redress deprivations under color of state law of rights, privileges, and

 immunities secured by the United States Constitution. This Court has supplemental jurisdiction

 over all state-law claims asserted in this action under 28 U.S.C. § 1367.

       5.      Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

        Paragraph 6: Pursuant to 28 U.S.C. § 1391(b), venue is properly vested in this Court

 because defendant Cuomo resides in this judicial district.

       6.      Response: Defendant admits that venue is properly vested in this Court and denies

the remaining allegations in this paragraph of the Complaint.

       Paragraph 7: There is a present and actual controversy between the parties.

       7.      Response: Defendant denies the truth of the allegations in this paragraph.

       Paragraph 8: The relief requested is authorized pursuant to 28 U.S.C. § 1343(a)(4)

(recovery of damages or equitable relief or any other such relief for the protection of civil rights),

28 U.S.C. § 1651(a) (injunctive relief), 28 U.S.C. §§ 2201 and 2202 (declaratory and other

appropriate relief), 42 U.S.C. § 1983 (deprivation of rights, privileges, and immunities secured

by the Constitution), and 42 U.S.C. § 1988 (awards of attorneys’ fees and costs).




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       8.      Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

                        IV.    STATEMENT OF RELEVANT FACTS

       Paragraph 9: After the Civil War, two Union Army officers created a private

association to promote marksmanship among the citizenry. Many officers believed that the war

would have ended significantly sooner if the northern troops had been able to shoot as well

as the Confederate soldiers. Therefore, a group of them obtained a charter from the State of New

York in November of 1871; thereafter, the National Rifle Association built a proud legacy in the

State of New York.

       9.      Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 10: From the NRA’s inception, it received praise from the State of New York

for its many public contributions. In 1872, the New York State legislature and the NRA jointly

dedicated funds for the creation of a rifle range on Creed Farm, in what is now Queens Village,

Queens, New York. For many decades, the NRA partnered with the State to advance firearms

safety, education, conservation, and other laudable public policy goals. For example, when New

York City public schools sought to educate boys in marksmanship and gun safety, NRA co-

founder Gen. George Wingate designed and headed the resulting Public Schools Athletic League

(PSAL) marksmanship program. Likewise, in 1949, the NRA worked with the State of New York

to create the nation’s first hunter education program. Similar courses were subsequently adopted

by state fish and game departments across the country and in Canada and help make hunting

among the safest sports in existence.




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       10.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 11: First among the “Purposes and Objectives” contained in the NRA’s bylaws

is “[t]o protect and defend the Constitution of the United States.” That is not surprising, because

political speech is a major purpose of the NRA as it engages in extensive advocacy at all levels of

government to promote the rights of its members and all Americans.

       11.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 12: The NRA spends tens of millions of dollars annually distributing

pamphlets, fact sheets, articles, electronic materials, and other literature to advocate for its views

on the Second Amendment and to assist NRA members engaging in national, state, and local

firearm dialogue. The NRA’s direct mail, television, radio, and digital communications seek to

educate the public about issues bearing on the Second Amendment, defend the NRA and its

members against political and media attacks, and galvanize participation in the political process

by NRA members and supporters.

       12.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 13: To its critics, the NRA is best known as a “superlobby – one of the largest

and most truly conservative lobbying organizations in the country,” able to mobilize its millions of

members in concerted efforts to protect the Second Amendment rights of all Americans.4 Of

course the NRA’s letter-writing campaigns, peaceable public gatherings, and other grassroots

“lobbying” activities constitute precisely the type of political speech which rests “[a]t the core of

the First Amendment.”


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          13.    Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in the first sentence of this paragraph of the

Complaint. The second sentence of this paragraph sets forth legal arguments and/or legal

conclusions; accordingly, no response thereto is required. To the extent a response to the second

sentence of this paragraph is required, Defendant denies that he engaged in any wrongdoing or

violated any of Plaintiff’s rights.

          Paragraph 14: Andrew Cuomo has criticized the political speech and influence of “Second

Amendment types” generally, and the NRA specifically, for decades. In fact, Cuomo has a

history of abusing his regulatory power to retaliate against his political opponents on gun control

issues.

          14.    Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

          Paragraph 15: The son of former Governor Mario Cuomo, Cuomo is a political

opportunist who consistently seeks to gain political capital by attacking the NRA. During his tenure

as Housing and Urban Development (“HUD”) Secretary in the 1990s, Cuomo famously

coordinated a campaign of lawsuits (nearly all dismissed) against gunmakers that purported to hold

them liable for crimes committed in public housing projects by criminals using illegally

obtained firearms. L a t e r , Cuomo admitted that his real aim was to coerce, via settlement, the

“voluntary” industrywide adoption of certain equipment and sale restrictions, and warned that

any manufacturer who refused to settle would suffer “death by a thousand cuts.”7 Decried by even

gun-control supporters as “wrong” and an abuse of agency authority, the HUD effort failed after the

NRA and other pro-gun groups organized legislative and grassroots opposition.




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       15.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 16: Cuomo blamed “gun lobby extremists” for the collapse of his efforts at

HUD. At a press conference on June 20, 2000, he referred to gun-rights supporters as “the

enemy,” and announced a blueprint for defeating the NRA and its allies that would emphasize

the use of state and municipal retaliatory authority: “If we engage the enemy in Washington we

will lose. They will beat us in this town. They are too strong in this town. Their fortress is

within the Beltway. We're going to beat them state by state, community by community.

       16.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 17: As governor of New York, Cuomo has loudly supported the enactment of

some of the nation’s harshest gun-control laws. But rather than debate opponents of his anti-

gun initiatives, he declared that conservative firearms advocates “have no place in the state of

New    York.” Accordingly, Cuomo has sought to banish “the enemy” from public discourse

altogether, and remains dissatisfied with what he perceives to be the excessive political influence

of “conservatives and the Second Amendment types.”

       17.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 18: In truth, Cuomo bears distinct animus toward the NRA, which he

accuses of exerting a “stifl[ing] . . . stranglehold” over national gun policy.15 For Cuomo,

weakening the political advocacy of the NRA is a career strategy.

       18.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.


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       Paragraph 19: Against the backdrop of recent tragedies and a polarized public gun-control

debate, Cuomo and the other Defendants have abused their authority in an effort to stifle the

NRA’s political advocacy and to retaliate against the NRA for the effectiveness of that advocacy.

       19.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 20: Together with f o r m e r DFS Superintendent Vullo, his longtime

lieutenant, Cuomo has embarked on a campaign to chill the political speech of the NRA and

other so-called “gun promotion” organizations by leveraging state power to punishing financial

institutions which maintain “business arrangements with the NRA.” To achieve this, Defendants

draw upon the formidable regulatory powers of DFS—an agency charged with ensuring the

stability and integrity of New York’s financial markets.

       20.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 21: At Cuomo’s behest, Vullo and DFS have threatened regulated institutions

with costly investigations, increased regulatory scrutiny and penalties should they fail to

“discontinue[] . . . their arrangements with the NRA.”16 Many of the most pernicious of these

threats occurred privately. For example, beginning in February 2018, Vullo met personally with

executives of regulated institutions, including Lloyd’s.17 During the meetings she discussed an

array of technical regulatory infractions plaguing the affinity-insurance marketplace. Vullo made

it clear, however, that DFS was less interested in pursuing the infractions of which she spoke, so

long as Lloyd’s ceased providing insurance to gun groups, especially the NRA. The threat was

clear and unambiguous. Shortly thereafter, Defendants began to deliver on it. Within a single week,

DFS levied multi-million dollar fines against two insurance-industry firms that dared to do


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business with the NRA. Under intense scrutiny, both firms, and later a third (together comprising

all the issuers of NRA-related policies for the NRA and its members), were coerced to terminate

their business arrangements with the NRA and its members—including arrangements having

nothing to do with the allegedly unlawful conduct cited by DFS.

       21.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 22: Importantly, Defendants were fully aware by at least March 2018 (and

likely earlier) that non-NRA insurance policies exhibiting the same features were being marketed

on behalf of other affinity organizations. Defendants intentionally ignored such knowledge and did

not undertake enforcement actions relating to these other similarly constructed programs because

enforcing the Insurance Law was never their goal. Instead, as DFS explained to Lloyd’s in closed-

door meetings, the Cuomo administration sought to focus on “gun programmes” and gun advocacy

groups generally.

       22.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 23: A DFS press release publicizing one recent enforcement action makes

clear the gravamen of Defendants’ campaign: financial institutions regulated by DFS must

refrain from “[e]ntering into any . . . agreement or arrangement,” which “involv[es] the NRA,

directly or indirectly”—or face the consequences.

       23.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 24: In 2011, as part of his state budget, Cuomo announced the merger of the

New York State Insurance Department and the Banking Department to create DFS. The mandate


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of the new agency, which consolidated supervisory and enforcement powers previously vested

in separate departments, is to “reform the regulation of financial services in New York to keep

pace with the rapid and dynamic evolution of these industries, to guard against financial crises

and to protect consumers and markets from fraud.”

       24.     Response: Defendant admits that in 2011, Defendant Cuomo announced the merger

of the New York State Insurance Department and the Banking Department to create DFS.

Defendant denies the remaining allegations in this paragraph of the Complaint.

       Paragraph 25: The Superintendent of DFS has broad regulatory and enforcement powers,

which encompass the ability to initiate civil and criminal investigations and enforcement actions.

In addition, pursuant to Financial Services Law, Article 3, § 301, the DFS superintendent has

the power to refer matters to the attorney general for criminal enforcement. The creation of an

agency with such expansive prerogatives and capabilities “grab[bed] power and headlines,” and

the New York Times reported in 2015 that the first DFS superintendent, Benjamin Lawsky, was

popularly caricatured as “the new sheriff of Wall Street” and an all-powerful monarch (“King

Lawsky”).

       25.     Response: In response to the first two sentences of this paragraph, Defendant admits

that the Superintendent of DFS has broad regulatory and enforcement powers, and respectfully

refer the Court to all applicable statutes, laws, and regulations as the best evidence of and most

accurate legal authority on the extent of such regulatory and enforcement powers. In response to

the third sentence of this paragraph, Defendant respectfully refers the Court to the referenced article

as the best evidence of what was reported by the New York Times regarding the first Superintendent

of DFS and denies the remaining allegations in this paragraph of the Complaint.




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       Paragraph 26: New York Financial Services Law, Article 2, § 201, provides the

superintendent of DFS with formidable authority to, among other things, “ensure the continued

solvency, safety, [and] soundness” of banks and insurance companies. Accordingly, DFS

directives regarding “risk management” must be taken seriously by financial institutions—as

risk-management deficiencies can result in fines of hundreds of millions of dollars.

       26.     Response: Defendant respectfully refers the Court to all applicable statutes, laws,

and regulations as the best evidence of and most accurate legal authority on the authority of the

Superintendent of DFS to take certain actions as to State-regulated banks and insurance companies.

Defendant denies the remaining allegations in this paragraph of the Complaint.

       Paragraph 27: DFS’s regulatory mandate does not include setting gun-control policy.

Nor does any statute or other authority empower DFS to blacklist, from receipt of insurance

or banking services, speakers with political viewpoints objectionable to the governor or DFS

superintendent. In addition, DFS has no authority to engage in unlawful viewpoint discrimination.

       27.     Response: In response to the first two sentences of this paragraph, Defendant

respectfully refers the Court to all applicable statutes, laws, and regulations as the best evidence of

and most accurate legal authority on DFS’ regulatory mandate. The third sentence of this

paragraph sets forth legal arguments and/or legal conclusions; accordingly, no response thereto is

required. To the extent a response to the third sentence of this paragraph is required, Defendant

denies that he engaged in any wrongdoing or violated any of Plaintiff’s rights. Defendant denies

the remaining allegations in this paragraph of the Complaint.

       Paragraph 28: The NRA’s direct-mail campaigns, digital media broadcasts, television

and radio    communications, grassroots organizing, membership recruitment, and other core

political speech and associational activities are carried out by a combination of volunteers,


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employees, and independent contractors engaged by the NRA and its affiliates. To meet

payroll obligations, purchase mailing materials and media airtime, maintain its Internet

presence, and otherwise continue to advocate for the Second Amendment of the United States

Constitution, the NRA must have the ability to process and retain cash, check, wire-transfer, and

other donations from members and events throughout the country, as well as transmit and apply

these funds to meet operational needs. Accordingly, the NRA relies upon depository services, cash

management services, lockbox services, disbursement services, wire-transfer services, and remote

banking services of the type generally offered by major wholesale banking institutions.

       28.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 29: To continue its existence as a not-for-profit organization and fulfill its

advocacy objectives, the NRA also must maintain various corporate insurance coverage. General

liability and related “umbrella” coverage allow the NRA to maintain physical premises, convene

off-site meetings and events, and operate educational programs promoting the safe use of firearms

which are vital to the NRA’s mission. For its Annual Meeting, Great American Outdoor Show, and

other major rallies, conventions and assemblies with explicitly expressive purposes, the NRA

generally must also purchase event-specific coverage. Absent such coverage, the NRA could

be forced to cease circulation of various print publications and magazines.

       29.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 30: In addition, like many affinity groups and organizations nationwide, the

NRA seeks to make life, health, and other insurance coverage available to its members on

affordable, tailored terms. To this end, the NRA contracted with multiple insurance-industry firms


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to develop, market, and underwrite insurance programs endorsed by the NRA. Pursuant to these

arrangements, the NRA performs none of the functions of an insurer. It does lend its valuable

logos, marks, and endorsements to insurance programs brokered and serviced by others. Such

“affinity” insurance plans are common, and believed by many to be a suitable substitute for

employer-based coverage.

       30.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 31: From 2000 onward, the NRA contracted with affiliates of the world’s

largest privately-held insurance broker, Lockton Companies, LLC (collectively with pertinent

affiliates, “Lockton”), for affinity-program brokerage and administration services. Lockton has

provided services in the affinity-insurance market for decades, and caters to a wide array of

industries and clients including franchises, professional and trade organizations, fraternal

organizations, and common-cause groups such as the NRA. For roughly seventeen years,

Lockton entities administered and marketed NRA-endorsed insurance in New York State and

across the nation without incident. In addition to its affinity-insurance transactions with the NRA,

Lockton has also served for decades as the NRA’s trusted insurance broker for various corporate

coverage—such as general liability, umbrella and director and officer insurance.

       31.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 32: The NRA-endorsed affinity insurance administered by Lockton consists

primarily of life, health, property, and casualty policies that mirror policies offered by Lockton

to other affinity groups. In addition, Lockton administers certain products, including a product

known as “Carry Guard,” that provide coverage for expenses arising out of the lawful self-defense


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use of a legally possessed firearm. Illinois Union Insurance Company (“Illinois Union”), a

subsidiary of Chubb Ltd., underwrote Carry Guard while doing business under the name “Chubb.”

       32.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 33: The NRA has been the target of activist boycott efforts in the past,

including campaigns that urged insurance companies and other private actors to cease doing

business with the NRA. However, because these campaigns were carried out by non-

governmental activist groups who lack the government’s power to punish those who refused to

join the boycott, their methods have centered on persuasion—not coercion. Unaided by the brute

force of state power, activists never successfully persuaded the NRA’s banking or insurance

partners to sever ties with the NRA. This changed in 2017, when one activist organization

successfully enlisted Defendants in a joint effort to silence the NRA.

       33.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 34: During or about September 2017, a non-governmental activist organization

known as Everytown for Gun Safety (“Everytown”) contacted the New York County District

Attorney’s Office (the “DA’s Office”), as well as state and municipal authorities in other

jurisdictions, in an effort to prompt a crackdown by sympathetic government officials that

would target alleged compliance infirmities in Carry Guard. Notably, Everytown is not an

organization dedicated to insurance compliance; instead, its explicit political mission is to oppose

the NRA. On September        13, 2017, representatives from the DA’s Office met with DFS to

effectuate Everytown’s agenda.




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       34.     Response: Defendant denies the allegations in the last sentence of this paragraph.

Defendant lacks knowledge or information sufficient to form a belief as to the truth or veracity of

the remaining allegations contained in this paragraph of the Complaint.

       Paragraph 35: As a result, in October 2017, DFS launched an investigation that focused

ostensibly on Carry Guard, and was directed in the first instance at Lockton. On its website,

Everytown took credit for instigating the inquiry—but even if it had not, the political

underpinnings and selective focus of the investigation were clear. The investigation was

chronicled in the national media before the NRA received official notice of it, and it targeted none

of the available self-defense insurance products except Carry Guard, which was endorsed by the

NRA.

       35.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 36: Of course, Carry Guard was not Defendants’ true focus, and the scope of

the DFS investigation rapidly expanded. At first, Defendants purported to target a discrete subset

of so- called “excess line” property and casualty policies relating to firearms—a category that

encompassed Carry Guard, but also included policies such as Gun Club Insurance and Hunt Club

Insurance. However, Defendants’ goal, from the outset, was to disrupt any and all business

arrangements between the NRA and any insurance administrator, broker, or underwriter—indeed,

any financial institution. Within weeks of commencing its investigation, DFS began to target

insurance programs that had nothing to do with firearms, and instead provided coverage similar or

identical to coverage endorsed by other New York affinity organizations such as the New York

State Bar Association, the New York City Bar, the National Association for the Self-Employed,




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the New York Association of Professional Land Surveyors, and the New York State Psychological

Association.

       36.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 37: DFS has not announced even to this day similar inquiries concerning any

of these other membership organizations, although their affinity programs involve most, if not

all, of the practices and features referenced by DFS in its investigation of the NRA’s affinity

programs.       Instead, Defendants selectively targeted the NRA because of the NRA’s

constitutionally protected legislative and grassroots advocacy activities. Defendants specifically

intend to undermine the NRA’s ability to conduct its affairs in New York—and to advance

Cuomo’s anti-NRA political agenda.

       37.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 38: Throughout its purported investigation of Carry Guard in late 2017 and

early 2018, DFS communicated to banks and insurers with known or suspected ties to the NRA that

they would face regulatory action if they failed to terminate their relationships with the

NRA. These exhortations extended far beyond Carry Guard (the policy purportedly raising

regulatory concerns), indicating that any business relationship whatsoever with the NRA would

invite adverse action.

       38.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.




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       Paragraph 39: The impact of Defendants’ campaign on the NRA’s ability to access

essential financial services has been far greater than—and, clearly distinct from—the impact of

any public controversy relating to recent tragedies.

       39.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 40: For example, during February 2018, the NRA issued a Request for

Proposal (“RFP”) to multiple banks, inviting them to submit bids to provide depository services,

cash- management services, and other basic wholesale banking services necessary to the NRA’s

advocacy. The NRA received enthusiastic responses from several banks.

       40.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 41: Likewise, in early January 2018, the NRA began negotiating with a major

DFS- regulated insurance carrier (the “Corporate Carrier”) to renew its General Liability, Umbrella,

and Media Liability insurance coverage policies, which were set to expire during Spring 2018.

Those negotiations remained on-course until the final days of February 2018, when Defendants

sharply escalated their threats.

       41.     Response: Defendant lacks knowledge or information sufficient to form a belief

as to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 42: On or about February 25, 2018, the Chairman of Lockton Companies,

placed a distraught telephone call to the NRA. Lockton had been a close business partner of the

NRA for nearly twenty years; its commitment to the parties’ business relationship had not

wavered in connection with the Parkland tragedy, nor the prior Sandy Hook tragedy, nor any

previous wave of public controversy relating to gun control. Nonetheless, although he expressed


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that Lockton privately wished to continue doing business with the NRA, the chairman confided

that Lockton would need to “drop” the NRA—entirely—for fear of “losing [our] license” to do

business in New York.

       42.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 43: On February 26, 2018, Lockton publicly tweeted that it would discontinue

providing brokerage services for all NRA-endorsed insurance programs.

       43.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 44: Days later, the Corporate Carrier abruptly reversed its position in its

corporate- insurance-renewal negotiations with the NRA. Although it had previously indicated it

would be willing to extend the NRA’s General Liability and Umbrella coverage on favorable

terms consistent with the NRA’s favorable claims history, the Corporate Carrier now stated that

it was unwilling to renew coverage at any price. The Corporate Carrier severed mutually

beneficial business arrangements with the NRA because it learned of Defendants’ threats directed

at Lockton, and feared it would be subject to similar reprisals.

       44.     Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 45: Defendants soon supplemented their backchannel threats with official

regulatory “guidance.” In April 2018, Cuomo directed DFS to publicly “urge insurers and bankers

statewide    to determine whether any relationship they may have with the NRA or similar

organizations sends the wrong message to their clients and their communities who often look to

them for guidance and support.”


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       45.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 46: On April 19, 2018, Vullo, as Superintendent of DFS, issued a pair of

ominous “guidance” letters (the “April 2018 Letters”) directed at the chief executive officers, or

equivalents, of all New York State chartered or licensed financial institutions and all insurers doing

business in New York. The April 2018 Letters urged recipients to sever ties with the NRA and

other “gun promotion organizations.” The directive was packaged in a sharply worded media

advisory meant to generate headlines and apply maximum public pressure to the NRA and

those with whom it associates.

       46.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 47: The April 2018 Letters are suffused with political concerns far afield from

DFS’s mandate to prevent financial crises and financial fraud. For example, they urge banks and

insurers to heed “the voices of the passionate, courageous, and articulate young people” speaking

out in favor of gun control, and to reconsider any business relationships with “the [NRA], and

similar organizations that promote guns and lead to senseless violence.” However, the April 2018

Letters do not merely express Defendants’ own political opinions: they invoke the “risk

management” obligations of recipients, and direct banks and insurers to “take prompt actions

to manage” purported “reputational risks” arising from “dealings with the NRA or similar

gun promotion organizations.”

       47.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.




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       Paragraph 48: Read in the context of the preceding months’ private communications—as

well as disclosures that would soon follow concerning consequences imposed on firms doing

business with the NRA—the April 2018 Letters were threats that deliberately invoked DFS’s “risk

management” authority to warn of adverse action if institutions failed to support Defendants’

efforts to stifle the NRA’s speech and to retaliate against the NRA based on its viewpoint.

       48.      Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 49: Importantly, the April 2018 Letters contain no language clarifying that DFS

would forebear from directly enforcing the letters’ terms. Nor do the April 2018 Letters provide

regulated institutions with any objective criteria for measuring the “reputational risks” imposed by

dealings     with entities that “promote guns that lead to senseless violence.” This is because

Defendants intended the April 2018 Letters to intimidate institutions into acceding to a political

blacklisting campaign, and have nothing to do with the types of market “risks” properly regulated

by DFS.

       49.      Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 50: To further dispel any ambiguity surrounding the April 2018 Letters,

Cuomo and Vullo issued the contemporaneous Cuomo Press Release, containing and endorsing a

statement by Vullo that directly “urge[s] all insurance companies and banks doing business in New

York to join the companies that have already discontinued their arrangements with the NRA.”

       50.      Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.




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       Paragraph 51: Likewise, on April 20, 2018, Cuomo publicly tweeted: “The NRA is an

extremist organization. I urge companies in New York State to revisit any ties they have to the

NRA and consider their reputations, and responsibility to the public.”

       51.      Response: Defendant admits that on April 20, 2018, he posted a public message

regarding the NRA on Twitter, and respectfully refers the Court to Twitter as the best evidence of

the content of such message. Defendant denies the remaining allegations in this paragraph of the

Complaint.

       Paragraph 52: The intended and actual effect of the April 2018 Letters, and the actions by

Cuomo and Vullo, is to coerce insurance agencies, insurers, and banks into terminating business

relationships with the NRA that were necessary to the survival of the NRA as a charitable

organization.

       52.      Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 53: Third-party commentators immediately raised concerns about the First

Amendment implications of DFS’s actions. For example, on April 22, 2018, shortly after issuance

of the April 2018 Letters, Brian Knight, a Senior Research Fellow and financial regulation expert

at George Mason University, published an article expressing alarm that the April 2018 Letters

“appear[ed] to be inherently about political speech,” and should be immediately withdrawn.30 In

the face of such criticism (and this litigation), Cuomo doubled down, declaring that a lawsuit

which alleges unconstitutional censorship of the NRA’s “dangerous agenda” means “you know

you’re doing something right.”

       53.      Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.


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       Paragraph 54: On May 2, 2018, two weeks after Vullo issued the April 2018 Letters,

Lockton entered into a consent order Under Articles 21, 23, and 34 of the Insurance Law (the

“Lockton Consent Order”) with DFS—signed by Vullo—which imposes a civil monetary

penalty of $7 million. Although the Lockton Consent Order ostensibly addresses discrete

violations by specific Lockton entities of New York’s Insurance Law, its provisions go much

further. Most notably, the Lockton Consent Order purports to restrict Lockton’s participation

in any NRA- endorsed insurance programs in New York State, irrespective of whether such

programs comply with the Insurance Law.

       54.     Response: Defendant admits that on May 2, 2018, Lockton entered into a consent

order with DFS (the “Lockton Consent Order”), and respectfully refers the Court to the Lockton

Consent Order as the best evidence of what is contained therein. Defendant denies the remaining

allegations in this paragraph of the Complaint.

       Paragraph 55: Specifically, the Lockton Consent Order requires that Lockton agree “not

to participate in . . . any other NRA-endorsed programs with regard to New York State.” Nor

may Lockton “enter into any agreement or program with the NRA to underwrite or participate in

any affinity-type insurance program involving any line of insurance to be issued or delivered in

New York State or to anyone known to Lockton to be a New York resident.” As a result, Lockton

is prohibited from selling NRA affinity insurance outside New York to any individual who maintains

a New York residence.

       55.     Response: Defendant respectfully refers the Court to the Lockton Consent Order as

the best evidence of what is contained therein and denies. the remaining allegations in this paragraph

of the Complaint.




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       Paragraph 56: DFS and Vullo have no legal basis to restrict Lockton’s involvement with

insurance programs that do not violate New York’s Insurance Law; nor do they have authority

to regulate insurance transactions outside of New York. Nevertheless, DFS mandated that

Lockton never enter into any future agreements with the NRA for legitimate and fully

compliant insurance programs in New York.

       56.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 57: Furthermore, Lockton would violate the Lockton Consent Order if it

markets an ordinary property, casualty, or life insurance policy in the State of New York that was

accompanied by an NRA logo or endorsement—notwithstanding that a comparable logo or

endorsement referencing any other affinity or common-cause organization is permissible. This

provision of the Lockton Consent Order is deliberate and intended to impair the NRA’s ability

to negotiate insurance benefits for its members, damage the NRA’s goodwill among its

membership, and unconstitutionally restrict the NRA’s speech on the basis of political animus.

       57.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 58: Several of the purported “violations” assessed pursuant to the Lockton

Consent Order concern programs commonly engaged in by numerous additional affinity

associations that do not publicly advocate for Second Amendment rights and, therefore, are

not targets of Defendants’ unconstitutional conduct. Several such organizations are clients of

Lockton—yet the Consent Order does not compel Lockton to discontinue its purportedly

unlawful conduct with respect to these clients.

      58.      Response: Defendant denies the truth of the allegations in this paragraph of the
Complaint.

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       Paragraph 59: For example:

             •
                 DFS claims that Lockton Affinity violated Insurance Law § 2122(a)(1) by
                 referring to the insurer’s AM Best rating. Yet, at the time this lawsuit was
                 filed, Lockton Affinity’s affinity program for the American Optometric
                 Association through AOAExcel (“AOAExcel touted the “backing of a carrier
                 that is rated A+ (Superior) by A.M. Best. Similarly, Lockton Affinity currently
                 advertises that coverage for the affinity programs designed for the Veterans
                 of Foreign Wars (“VFW”) and Moose International Inc. (“Moose”) was
                 through companies “rated ‘Excellent’ or higher by A.M. Best.”
             •
                 DFS claims that Lockton Affinity violated Insurance Law § 2324(a) by giving
                 or offering to give no cost insurance to NRA members in good standing. Yet,
                 Lockton Affinity currently made that same offer to members of both the
                 Professional Photographers of America (“PPA”) and the VFW.
             •   DFS claims that Lockton Affinity violated Insurance Law § 2116 by
                 compensating the NRA based on actual premiums collected. Yet, Lockton
                 Affinity paid AOAExcel, Moose, the VFW, the PPA, and dozens of other clients
                 in the same or similar manner.

       59.       Response: Defendant respectfully refers the Court to the Lockton Consent Order as

the best evidence of what is contained therein and denies the remaining allegations in this paragraph

of the Complaint.

       Paragraph 60: Even if such conduct does violate insurance law, DFS’s selective

enforcement of such offenses as to NRA-endorsed policies—but not as to other policies marketed

by Lockton in an identical fashion—constitutes impermissible viewpoint discrimination and a

denial of equal protection under the law.

       60.       Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 61: Despite the backlash concerning the expansive coercive scope and clear

political agenda of the April 2018 Letters, Defendants remained undaunted in their effort to

deprive the NRA of such services; as such, their overall messaging to financial institutions

remained unaffected. Indeed, the DFS press release publicizing the Lockton Consent Order

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trumpeted the same concession by Lockton that had inspired its chairman’s furtive telephone call

months before: Lockton must “refrain from [e]ntering into any other agreement or arrangement . .

. involving the NRA, directly or indirectly”—including, but not limited to, affinity insurance.

       61.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 62: On May 7, 2018, Chubb Group Holdings, Inc. and Illinois Union (together,

“Chubb”) entered into a Consent Order Under Sections 1101 and 3420 of the Insurance Law (the

“Chubb Consent Order”) with DFS—signed by Vullo—which imposes a civil monetary penalty

of $1.3 million. Similar to the Lockton Consent Order, in the Chubb Consent Order, DFS

overextends its authority and purports to restrict Chubb’s participation in any affinity-type

insurance program with the NRA, irrespective of whether such programs comply with the

Insurance Law.

       62.     Response: Defendant admits that on May 7, 2018, Chubb entered into a consent

order with DFS (the “Chubb Consent Order”), and respectfully refers the Court to the Chubb

Consent Order as the best evidence of what is contained therein. Defendant denies the remaining

allegations in this paragraph of the Complaint.

       Paragraph 63: Although DFS restricted Lockton from participating in any affinity-type

insurance programs with the NRA in New York or with New York residents, Defendants’

restrictions in the Chubb Consent Order contain no geographic constraint whatsoever. Instead, the

Chubb Consent Order purports to limit Chubb’s involvement with the NRA anywhere, and

everywhere, in the world.




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       63.     Response: Defendant respectfully refers the Court to the Chubb Consent Order as

the best evidence of what is contained therein and denies the remaining allegations in this paragraph

of the Complaint.

       Paragraph 64: Nevertheless, DFS allows Chubb to continue to underwrite affinity-type

insurance programs with other affinity or common-cause organizations that do not publicly

advocate for Americans’ Second Amendment rights, so long as Chubb undertakes “reasonable due

diligence to ensure that any entity involved . . . is acting in compliance with the Insurance Law .

. . .” The only plausible explanation for the DFS’s complete exclusion of NRA-endorsed policies,

even those “in compliance with the Insurance Law,” is that Defendants seek to misuse DFS’s power

to deprive the NRA of insurance and financial services, on the sole ground that Defendants

disapprove of the NRA’s viewpoint regarding gun control.

       64.     Response: Defendant respectfully refers the Court to the Chubb Consent Order as

the best evidence of what is contained therein and denies the remaining allegations in this paragraph

of the Complaint.

       Paragraph 65: Beginning during the Fall of 2017, including through a subpoena issued to

Lockton and research supplied by Everytown, Defendants became aware of pervasive, colorable

regulatory infirmities affecting numerous affinity-insurance programs. For example, brokers such

as Lockton frequently paid success-based royalties to their affinity clients, which DFS would later

assert violated New York Insurance Law § 2116. Insurance coverage for the cost of psychological

counseling had become increasingly pervasive outside a standard health-insurance context, yet DFS

argues that providing such insurance violates New York Insurance Law § 2117. Similarly, DFS

takes the position that the financial condition or “rating” of an out-of-state, excess-line insurer may

not be advertised as a means to promote the policy—but this practice was common in the affinity-


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insurance marketplace in 2017. And although New York Insurance Law § 3420 sets forth various

minimum requirements for liability insurance which protects persons and property, many policies

failed to meet those requirements. It is clear that confusion existed among brokers regarding the

mechanics of compliance with New York Insurance Law § 2118, which requires brokers to secure

declinations from authorized insurers before placing surplus-line insurance.

       65.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 66:       Confronted with a marketplace where they knew that brokerage,

underwriting, and affinity-endorsement practices frequently departed from the regulators’ preferred

reading of certain statutes, Defendants could have issued informative guidance, or adopted an even-

handed enforcement approach. Instead, Defendants selectively used these purported infractions to

target the NRA, while disregarding other instances of the same conduct of which they were aware.

(When Defendants did issue guidance letters to regulated institutions in April 2018, the letters

reflected their enforcement approach: ignore excess-line declinations, out-of-state-carrier ratings,

and other technical insurance-policy features while “urging” financial institutions to cut ties with

gun groups).

       66.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 67: Although DFS’s investigation of the NRA, launched at Cuomo and

Everytown’s behest, had originally focused on Carry Guard, that changed by February 2018. In the

aftermath of the Parkland tragedy, Vullo met with senior executives of Lloyd’s and LAI, and


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presented Defendants’ views on gun control and their desire to leverage their powers to combat the

availability of firearms, including specifically by weakening the NRA. These backchannel meetings

began on or about February 27, 2018, in the wake of a speech by Vullo at a breakfast meeting of

the New York City Bar Association; participants included Vullo herself, along with Joseph Gunset

of LAI.

          67.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

          Paragraph 68: Sometimes referred to as an insurance underwriter, Lloyd’s is actually an

insurance marketplace, composed of “members which underwrite insurance (each for their own

account) as members of syndicates.” Various supervisory bodies and boards within Lloyd’s set

policies for the Lloyd’s syndicates, and can issue directives that shape the availability of different

types of insurance worldwide. Like most of the insurance industry, Lloyd’s generally does not shy

away from providing insurance that may be controversial—for example, to this day, Lloyd’s

syndicates are permitted to underwrite coverage for religious sexual abuse liability. However,

despite being based in London, Lloyd’s is extremely sensitive to pressure from the New York

regulators, and concerned about “reputational risks” that may incur DFS’s disfavor. Since World

War II, when Lloyd’s sought to protect policyholders from the consequences of German attacks on

England, all premiums paid by Lloyd’s policyholders have deposited into trust funds in the State of

New York, through a structure known as the Lloyd’s America Trust Fund (“LATF”). The LATF is

directly regulated by DFS, and totals tens of billions of dollars—providing massive collateral for

whatever demands DFS may impose.




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       68.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 69: During her surreptitiously held meetings with Lloyd’s executives that

commenced in February 2018, Vullo acknowledged the widespread regulatory issues in the excess-

line marketplace. Vullo and DFS made clear that Lloyd’s could avoid liability for infractions

relating to other, similarly situated insurance policies, so long as it aided DFS’s campaign against

gun groups. Against the specter of this bold abuse of her position, Lloyd’s agreed that it would

instruct its syndicates to cease underwriting firearm-related policies and would scale back its NRA-

related business; in exchange, DFS would focus its forthcoming affinity-insurance enforcement

action solely on those syndicates which served the NRA, and ignore other syndicates writing similar

policies. The first step of this choreographed process was a letter from DFS to Gunset, an LAI

executive, sent on April 11, 2018.

       69.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 70: On May 1, 2018, Lloyd’s held a meeting of its Board of Directors. Among

the topics discussed at the meeting were DFS’s investigation of the NRA and its business partners,

the potential consequences of that investigation on Lloyd’s and Lloyd’s syndicates, the settlements

between DFS and Lockton and Chubb, and the April 11, 2018 letter from DFS to LAI. The Board

resolved to send a letter to all managing agents, instructing them to restrict underwriting for “other

national gun programmes,” [sic] not only those which exhibited regulatory issues identified by DFS

to date. The Board accurately predicted that the NRA would sue DFS, and perhaps Lloyd’s, in the


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wake of such actions. Nonetheless, the Board obviously concluded that defying the demands by

Vullo and DFS was far too risky: the DFS investigation had transformed the gun issue into “a

regulatory, legal and compliance matter rather than a question of ethics,” and Lloyd’s had to

remain in DFS’s good graces.

       70.       Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant lacks knowledge or information sufficient to form a belief as to the truth or veracity of

the first four sentences of this paragraph and denies the rest and remainder of the allegations

contained in this paragraph of the Complaint.

       Paragraph 71: On May 9, 2018, Lloyd’s sent a notice to its managing agents who are

responsible for all insurance policies written through the Lloyd’s marketplace (the “May 9 Notice”).

The May 9 Notice summarized the results of the May 1 Board meeting where the Board determined

to terminate Lloyd’s relationships with the NRA in light of the risks for those who continued to do

business with the NRA in the wake of the investigations by DFS. The May 9 Notice further

instructed the managing agents to: cancel or terminate existing NRA insurance programs as soon

as possible; not renew any NRA insurance programs or insure new ones; provide a report by May

16, 2018 detailing the NRA insurance programs that have been canceled, terminated or not

renewed; and provide details of any other contracts or programs with other gun associations in the

United States.

       71.       Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant respectfully refers the Court to the May 9, 2018, notice as the best evidence of what is

contained therein and denies the remaining allegations in this paragraph of the Complaint.


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       Paragraph 72: Also on May 9, 2018, Lloyd’s publicly announced that it had directed its

underwriters to terminate all insurance related to the NRA and not to provide any insurance to the

NRA in the future, in the wake of DFS’s investigations into the NRA and its business partners.

       72.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant respectfully refers the Court to the May 9, 2018, announcement as the best evidence of

what is contained therein and denies the remaining allegations in this paragraph of the Complaint.



       Paragraph 73: By June 30, 2018, the Lloyd’s managing agents and syndicates had

provided materials to DFS that DFS requested in the April 11, 2018 letter.

       73.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant lacks knowledge or information sufficient to form a belief as to the truth or veracity of

the allegations contained in this paragraph of the Complaint.

       Paragraph 74: On December 20, 2018, ten Lloyd’s underwriters, acting through their

managing agents, entered into a Consent Order Under Sections 1102 and 3420 of the Insurance

Law (the “Lloyd’s Consent Order”) with DFS—signed by Vullo—which imposes a civil monetary

penalty of $5 million.50 Similar to the Lockton and Chubb Consent Orders, in the Lloyd’s Consent

Order, DFS overextends its authority and purports to restrict Lloyd’s participation in any affinity-

type insurance program with the NRA, irrespective of whether such programs comply with the

Insurance Law.

       74.     Response:    The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required


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Defendant respectfully refers the Court to the referenced Consent Order as the best evidence of

what is contained therein and denies the remaining allegations in this paragraph of the Complaint.

       Paragraph 75: Pursuant to the conversations between Vullo and DFS with senior officials

at Lloyd’s and LAI described above, Lloyd’s was not subjected to any enforcement action and/or

penalties for any violation of the New York Insurance Law related to affinity-insurance programs,

other than in connection with the NRA-related insurance programs.

       75.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 76: Importantly, Lloyd’s was not the only entity with direct exposure to DFS’s

selective enforcement scheme. DFS also became specifically cognizant of non-NRA policies that

exhibited the same purported defects as NRA policies—and chose to ignore those violations,

targeting solely the NRA—in the context of its Lockton investigation. By March 2018, Lockton

was fully aware that purported violations of New York Insurance Law § 2122(a)(1)-(2), concerning

the advertisement of the financial rating of an excess-line carrier, affected many of its other clients.

Indeed, under DFS supervision, Lockton began efforts to remediate the issue on websites for non-

NRA programs. During this time, Lockton also began to negotiate its consent order with DFS.

Unfortunately, the written record of those negotiations is sparse, because DFS instructed Lockton

to confine its feedback to telephone calls, lest written comments impose an “administrative burden”

(i.e., create a paper trail). However, Lockton specifically questioned the propriety of reciting, within

the text of the consent order, the exact statutes that had been violated—notably, the same statutes

and issues applied to non-NRA affinity programs. DFS verbally conveyed to Lockton that it was

only interested in pursuing the NRA. Other programs exhibiting the same issues, DFS explained,


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could be quietly remediated by Lockton after consent order and penalty targeting NRA programs

had been publicized.

       76.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.



       Paragraph 77: Consistent with this agreement, on July 2, 2018, Lockton provided a report

to DFS regarding the status of its remediation efforts for non-NRA programs. The report confirms

that many of the alleged regulatory infractions identified in the Lockton Consent Order were

systemic and pervasive. For example, “a number” of other affinity clients received success-based

royalty compensation, and Lockton’s entire process for securing declinations pursuant to New York

Insurance Law § 2118 needed to be reformed. Although DFS purported to target NRA policies

based on, among other things, their allegedly improper psychological-counseling coverage,

Lockton’s remediation report confirmed that such coverage was “prevalen[t],” and sought

“dialogue with DFS on the best way forward” given the ample demand and need for such coverage.

       77.     Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant respectfully refers the Court to the referenced report as the best evidence of what is

contained therein and denies the remaining allegations in this paragraph of the Complaint.

       Paragraph 78: In sum, Lockton’s report confirmed what DFS already knew: that the

regulatory issues alleged with regard to NRA-related policies affected numerous non-NRA policies.

In response, DFS took no action whatsoever against any of Lockton’s non-NRA clients. On January

31, 2019, almost three months after this Court had sustained the NRA’s selective-enforcement


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claims and permitted discovery regarding them, DFS entered into a Supplemental Consent Order

with Lockton that purported to admonish violations of the same statutes by Lockton’s non-NRA

clients, yet did not identify the clients by name or require Lockton to cease doing business with

them.

        78.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant respectfully refers the Court to the referenced report as the best evidence of what is

contained therein and denies the remaining allegations in this paragraph of the Complaint

        Paragraph 79: DFS’s selective enforcement continues to this day. While taking no action

against any of Lockton’s other affinity clients, or the underwriters involved in those policies, DFS

recently subpoenaed an underwriter known as AGIA which backs health-insurance policies

administered and brokered by Lockton for the NRA. These policies have nothing to do with firearms

and are identical in all material respects to policies administered and brokered by Lockton on behalf

of non-NRA clients.

        79.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

        Paragraph 80: Defendants’ concerted efforts to stifle the NRA’s freedom of speech and to

retaliate against the NRA based on its viewpoints are causing other insurance, banking, and

financial institutions doing business with the NRA to rethink their mutually beneficial business

relationships with the NRA for fear of monetary sanctions or expensive public investigations.

        80.    Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.


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        Paragraph 81: The NRA has encountered serious difficulties obtaining corporate

insurance coverage to replace coverage withdrawn by the Corporate Carrier. The NRA has spoken

to numerous carriers in an effort to obtain replacement corporate insurance coverage; nearly every

carrier has indicated that it fears transacting with the NRA specifically in light of DFS’s actions

against Lockton, Chubb and Lloyd’s.

        81.    Response: Defendant lacks knowledge or information sufficient to form a belief as

to the truth or veracity of the allegations contained in this paragraph of the Complaint.

        Paragraph 82: Defendants’ threats have also imperiled the NRA’s access to basic banking

services, despite the absence of any alleged regulatory violations in connection with the NRA’s

banking activities. Multiple banks withdrew their bids in the NRA’s RFP process following the

issuance of the April 2018 Letters, based on concerns that any involvement with the NRA—even

providing the organization with basic depository services—would expose them to regulatory

reprisals.

        82.    Response: Defendant lacks knowledge or information sufficient to form a belief

as to the truth or veracity of the allegations contained in this paragraph of the Complaint.

        Paragraph 83: Defendants’ campaign is achieving its intended chilling effect on banks

throughout DFS’s jurisdiction. Speaking “on the condition of anonymity,” one community

banker from Upstate New York told American Banker magazine that in light of the apparent

“politically motivated” nature of the DFS guidance, “[i]t’s hard to know what the rules are” or

whom to do business with, because bankers must attempt to anticipate “who is going to come

into disfavor with the New York State DFS” or other regulators. Other industry sources told

American Banker that, “such regulatory guidelines are frustratingly vague, and can effectively

compel institutions to cease catering to legal businesses.”


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       83.     Response: Defendant lacks knowledge or information sufficient to form a belief

as to the truth or veracity of the allegations contained in this paragraph of the Complaint.

       Paragraph 84: The NRA has suffered tens of millions of dollars in damages based on

Defendants’ conduct described above. Such damages include, without limitation, damages due to

reputational harm, increased development and marketing costs for any potential new NRA-

endorsed insurance programs, and lost royalty amounts owed to the NRA, as well as attorneys’

fees, legal expenses, and other costs.

       84.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 85: If the NRA is unable to collect donations from its members, safeguard

the assets endowed to it, apply its funds to cover media buys and other expenses integral to

its political speech, and obtain basic corporate insurance coverage, it will be unable to exist as a

not-for-profit or pursue its advocacy mission. Defendants seek to silence one of America’s oldest

constitutional rights advocates. If their abuses are not enjoined, they will soon, substantially,

succeed.

       85.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.




                                         V.      CLAIMS

Count One: Violation Of The NRA’s First And Fourteenth Amendment Rights Under 42
U.S.C. § 1983, And Article 1, Section 8 Of The New York Constitution By The
Establishment Of An Implicit Censorship Regime (As To All Defendants).

       Paragraph 86: The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.
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       86.     Response: Defendant reincorporates his responses to Paragraphs 1 through 85.

       Paragraph 87: The First Amendment, which applies to Defendants by operation of the

Fourteenth Amendment, and Section Eight of the New York Constitution secure the NRA’s

right to free speech, including its right to express its viewpoints and political beliefs regarding

the constitutionally protected right to keep and bear arms.

       87.     Response: This paragraph sets forth legal arguments and/or legal conclusions, and

questions of law; accordingly, no response is required.       To the extent a response is required,

Defendant denies that he engaged in any wrongdoing or violated any of Plaintiff’s rights.

       Paragraph 88: The NRA has a longstanding history of political advocacy advancing the

Second Amendment rights of all Americans. Although Cuomo and Vullo disagree with and

oppose the NRA’s political views, the NRA’s freedom to express its views with respect to the

gun-control debate is a fundamental right protected by the First Amendment.

       88.     Response: This paragraph sets forth legal arguments and/or legal conclusions, and

questions of law; accordingly, no response is required.       To the extent a response is required,

Defendant admits that the NRA has speech rights protected by the First Amendment but denies that

that Defendant engaged in any wrongdoing or violated any of Plaintiff’s rights. Defendant denies

the truth of all other allegations in this paragraph of the Complaint.

       Paragraph 89: Defendants have regulatory authority over financial institutions and

insurance entities that have done or are doing business with or are otherwise associated with

the NRA, including Chubb, Lockton, and Lloyd’s.

       89.     Response: Defendant respectfully refer the Court to all applicable statutes, laws,

and regulations as the best evidence of and most accurate legal authority on Defendant’s

regulatory authority and denies the remaining allegations in this paragraph of the Complaint.


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       Paragraph 90: Defendants’ actions—including but not limited to the issuance of the April

2018 Letters and the accompanying backroom exhortations, the imposition of the Consent Orders

upon Chubb, Lockton and Lloyd’s, and the issuance of the Cuomo Press Release—established

a “system of informal censorship” designed to suppress the NRA’s speech.

       90.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 90: Defendants’ actions were for the purpose of suppressing the NRA’s pro-

Second Amendment viewpoint. Defendants undertook such unlawful conduct with the intent to

obstruct, chill, deter, and retaliate against the NRA’s core political speech.

       91.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 91: Defendants’ unlawful exhortations to New York insurance companies,

banks, and financial institutions that they, among other things, “manag[e] their risks, including

reputational risks, that may arise from their dealings with the NRA . . ., as well as continued

assessment of compliance with their own codes of social responsibility[,]” as well as “review any

relationships they have with the NRA[,]” and “take prompt actions to managing these risks and

promote public health and safety[,]” constitute a concerted effort to deprive the NRA of its freedom

of speech by threatening with government prosecution services critical to the survival of the NRA

and its ability to disseminate its message. Far from protected government speech, Defendants’

actions constitute   an “implied threat[ ] to employ coercive state power” against entities doing

business with the NRA, and they are reasonably interpreted as such.

       92.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.


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        Paragraph 93: Defendants’ concerted efforts to stifle the NRA’s freedom of speech caused

financial institutions doing business with the NRA to end their business relationships, or explore

such action, due to fear of monetary sanctions or expensive public investigations. For example,

Defendants coerced and caused Lockton, Chubb and Lloyd’s to cease their participation in NRA-

endorsed insurance programs, regardless of whether the insurance programs met all legal

qualifications under New York’s Insurance Law.

        93.    Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

        Paragraph 94: Defendants’ unlawful and intentional actions are not justified by a

substantial or compelling government interest and are not narrowly tailored to serve any such

interest.

        94.    Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

        Paragraph 95: Defendants’ intentional actions resulted in significant damages to the

NRA, including but not limited to damages due to reputational harm, increased development

and marketing costs for any potential new NRA-endorsed insurance programs, and lost royalty

amounts owed to the NRA.

        95.    Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

        Paragraph 96: The NRA is also entitled to an award of attorneys’ fees and costs pursuant

to 42 U.S.C. § 1988 and New York Civil Practice Law and Rules § 8601.

        96.    Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.


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       Paragraph 97: In addition to the above-described damages, absent an injunction against

Defendants, the NRA will suffer irrecoverable loss and irreparable harm if it is unable to acquire

insurance or other banking services due to Defendants’ actions. Accordingly, the NRA seeks an

order preliminarily and permanently enjoining Cuomo and Vullo (in their official capacities) and

DFS—including its officers, agents, servants, employees, and all persons in active concert or

participation with them who receive actual notice of the injunction—from threatening or

encouraging insurance companies, banks, or financial institutions to sever ties with or discontinue

services to the NRA.

       97.     Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

Count Two: Violation Of The NRA’s First And Fourteenth Amendment Rights Under
42 U.S.C. § 1983 And Article 1, Section 8 Of The New York Constitution By
Retaliating Against The NRA Based On Its Speech (As To All Defendants).

       Paragraph 98: The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

       98.     Response: Defendant reincorporates his responses to Paragraphs 1 through 82.

       Paragraph 99: The First Amendment, which applies to Defendants by operation of the

Fourteenth Amendment, and Section Eight of the New York Constitution, secures the NRA’s

right to free speech, including its right to express its viewpoints and political beliefs regarding

the constitutionally protected right to keep and bear arms.

       99.     Response: This paragraph sets forth legal arguments and/or legal conclusions, and

questions of law; accordingly, no response is required.       To the extent a response is required,

Defendant admits that the NRA has speech rights protected by the First Amendment but denies that




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that Defendants engaged in any wrongdoing or violated any of Plaintiff’s rights. Defendant denies

the truth of all other allegations in this paragraph of the Complaint.

       Paragraph 100: The NRA has a longstanding history of political advocacy advancing the

Second Amendment rights of all Americans. Although Cuomo and Vullo disagree with and

oppose the NRA’s political views, the NRA’s freedom to express its views with respect to the

gun-control debate is a fundamental right protected by the First Amendment.

       100.    Response: This paragraph sets forth legal arguments and/or legal conclusions, and

questions of law; accordingly, no response is required.       To the extent a response is required,

Defendant denies that he engaged in any wrongdoing or violated any of Plaintiff’s rights.

       Paragraph 101: Defendants’ actions—including but not limited to the issuance of the

April 2018 Letters and the accompanying backroom exhortations, the imposition of the Consent

Orders upon Chubb, Lockton and Lloyd’s, and the issuance of the Cuomo Press Release—

were in response to and substantially caused by the NRA’s political speech regarding the right

to keep and bear arms. Defendants’ actions were for the purpose of suppressing the NRA’s

pro-Second Amendment viewpoint. Defendants undertook such unlawful conduct with the intent

to obstruct, chill, deter, and retaliate against the NRA’s core political speech.

       101.    Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 102: Defendants’ actions have concretely harmed the NRA by causing

financial institutions doing business with the NRA to end their business relationships, or

explore such action, due to fear of monetary sanctions or expensive public investigations. For

example, Defendants coerced and caused Lockton, Chubb and Lloyd’s to cease their participation




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in NRA-endorsed insurance programs in New York and elsewhere, regardless of whether the

insurance programs met all legal qualifications under New York’s Insurance Law.

        102.   Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

        Paragraph 103: Defendants had discretion in deciding whether and how to carry out their

actions, including but not limited to the types of demands imposed on Chubb, Lockton and Lloyd’s

in the Consent Orders, whether to issue the Cuomo Press Release, and the type of guidance

provided in the April 2018 Letters. They exercised this discretion to harm the NRA because of

the NRA’s speech regarding the Second Amendment.

        103.   Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

        Paragraph 104: Defendants’ unlawful and intentional actions are not justified by a

substantial or compelling government interest and are not narrowly tailored to serve any such

interest.

        104.   Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

        Paragraph 105: Defendants’ intentional actions resulted in significant damages to the

NRA, including but not limited to damages due to reputational harm, increased development

and marketing costs for any potential new NRA-endorsed insurance programs, and lost royalty

amounts owed to the NRA.

        105.   Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.




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       Paragraph 106: The NRA is also entitled to an award of attorneys’ fees and costs

pursuant to 42 U.S.C. § 1988 and New York Civil Practice Law and Rules § 8601.

       106.    Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

       Paragraph 107: In addition to the above-described damages, absent an injunction

against Defendants, the NRA will suffer irrecoverable loss and irreparable harm if it is unable to

acquire insurance or other financial services due to Defendants’ actions. Accordingly, the NRA

seeks an order permanently enjoining Cuomo, Vullo, and DFS—including its officers, agents,

servants, employees, and all persons in active concert or participation with them who receive

actual notice of the injunction—from threatening or encouraging insurance companies, banks,

or financial institutions to sever ties with or discontinue services to the NRA.

       107.    Response: Defendant denies the truth of the allegations in this paragraph.

Count Three: Violation Of The Equal Protection Clause Of The Fourteenth Amendment
Under 42 U.S.C. § 1983, And Article 1, Section 11 Of
The New York Constitution (As To Vullo).

       Paragraph 108: The NRA repeats and re-alleges each and every allegation in the

preceding paragraphs as though fully set forth herein.

       108.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent a response is required,

Defendant reincorporates his responses to Paragraphs 1 through 106.

       Paragraph 109: Vullo knowingly and willfully violated the NRA’s equal protection rights

by seeking to selectively enforce certain provisions of the Insurance Law against Lockton’s

affinity-insurance programs for the NRA. Meanwhile, other affinity-insurance programs that




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were identically (or at least similarly) marketed by Lockton, but not endorsed by “gun

promotion” organizations, have not been targeted by DFS’s investigation.

       109.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 110: Vullo was aware during the investigations of the NRA and its business

partners that these other identical (or at least similar in all material respects) affinity-insurance

programs had the same legal infirmities that resulted in the penalties against Lockton, Chubb, and

Lloyd’s related solely to the NRA-related affinity-insurance programs. Specifically, Vullo was

aware of these comparators from her involvement in the conversations she had with senior officials

of Lloyd’s in the spring of 2018 described above.

       110.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 111: Alternatively, Vullo should have known of similarly situated individuals

at the time DFS launched its investigation and any purported lack of knowledge was due to a “see-

no-evil” policy of enforcement, which Vullo and DFS abandoned solely to further their vendetta

against the NRA. The “see-no-evil” enforcement policy was confirmed by DFS’s continued

ignorance toward the violations of the similarly situated comparators.

       111.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.




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       Paragraph 112: By virtue of the position held by Vullo at the time DFS launched its

investigation, Vullo knew the actions taken by DFS against NRA affinity insurance programs were

unprecedented. No other similarly situated programs have faced even close to the same treatment

for analogous violations. However, Vullo and DFS failed to inquire about whether there were any

other similarly situated affinity programs when the investigation was launched.

       112.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 113: There is an extremely high level of similarity between the NRA-related

affinity insurance programs and those of the comparator affinity-insurance programs, including

AOAExcel, Moose, the VFW, and the PPA, such that no rational person would perceive the NRA

related programs to be different enough to justify the differential treatment by Vullo and DFS.

       113.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 114: Vullo and DFS discriminated against the NRA and its business partners

because of Vullo’s personal animus toward the NRA and its Second Amendment advocacy.

       114.    Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

       Paragraph 115: The similarity between the NRA-related programs and the comparators

and the sharp differences in Vullo’s and DFS’s treatment of them are sufficient to exclude the

possibility that Vullo and DFS acted on the basis of a mistake.


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        115.   Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

        Paragraph 116: Alternatively, there is at least a reasonably close resemblance between the

NRA related affinity-insurance programs and those of the comparator affinity-insurance programs,

including AOAExcel, Moose, the VFW, and the PPA.

        116.   Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

        Paragraph 117. The disparate treatment of the NRA-related programs and the comparators

was caused by Vullo’s intent to punish and/or inhibit the NRA because of the NRA’s

constitutionally protected speech.

        117.   Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

        Paragraph 118: Vullo’s selective enforcement of the Insurance Law against the NRA and

its   business partners has been knowing, willful, arbitrary, capricious, unreasonable,

discriminatory, and undertaken in bad faith and without a rational basis. Vullo’s conduct does not

further any legitimate government interest.

        118.   Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.




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           Paragraph 119: Vullo’s selective enforcement of the Insurance Law against the NRA and

its business partners is based on the NRA’s political views and speech relating to the

Second Amendment. These considerations are impermissible bases for an enforcement action.

           119.   Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

           Paragraph 120: Vullo’s actions have resulted in significant damages to the NRA, including

but not limited to damages due to reputational harm, increased development and marketing costs

for any potential new NRA-endorsed insurance programs, and lost royalty amounts owed to the

NRA.

           120.   Response: The allegations in this paragraph relate to claims that have been

dismissed by the Court and therefore require no response. To the extent that a response is required

Defendant denies the truth of the allegations in this paragraph of the Complaint.

           Paragraph 121: The NRA is also entitled to an award of attorneys’ fees and costs

pursuant to 42 U.S.C. § 1988 and New York Civil Practice Laws and Rules § 8601.

           121.   Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

                               VI.       DEMAND FOR JURY TRIAL

           Paragraph 142: The NRA hereby demands a trial by jury on all issues so triable.

           122.   Response: This paragraph contains a jury demand; accordingly, no response is

required. To the extent a response is required, Defendant admits that the NRA demands a jury

trial.

                                  VII.    REQUEST FOR RELIEF


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        Complaint text: WHEREFORE the NRA respectfully requests that the Court enter

judgment in the NRA’s favor and against Defendants, as follows:

        a.        Declaring, pursuant to 28 U.S.C. § 2201, that Defendants have violated the

NRA’s rights to free speech and equal protection under both the Federal and New York

Constitutions;

        b.        Granting a preliminary and permanent injunction, pursuant to 28 U.S.C. § 1651

(a), 42 U.S.C. § 1983, and Rule 65 of the Federal Rules of Civil Procedure, ordering DFS, its

agents, representatives, employees and servants and all persons and entities in concert or

participation with it, Cuomo (in his official capacity) and the current Superintendent of DFS (in

her/his official capacity):

        (1)      to immediately cease and refrain from engaging in any conduct or activity

                 which has the purpose or effect of interfering with the NRA’s exercise of the

                 rights afforded to it under the First and Second Amendment to the United

                 States Constitution and Section 8 to the New York Constitution; and

        (2)      to immediately cease and refrain from engaging in any conduct or activity which

                 has the purpose or effect of interfering with, terminating, or diminishing any of

                 the NRA’s contracts and/or business relationships with any organizations;

        b.        Granting such other injunctive relief to which the NRA is entitled;

        c.        Awarding the NRA actual damages, including compensatory and

consequential damages, in an amount to be determined at trial;

        d.       Awarding the NRA exemplary or punitive damages;

        e.       Awarding the NRA pre-judgment and post-judgment interest at the highest lawful

        rates;


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          f.      Awarding the NRA such costs and disbursements as are incurred in

prosecuting this action, including reasonable attorneys’ and experts’ fees; and

          g.     Granting the NRA such other and further relief as this Court deems just and proper.

          123.   Response: Defendant denies the truth of the allegations in this paragraph of the

Complaint.

                                   AFFIRMATIVE DEFENSES

          124.   The Complaint fails to state a claim upon which relief can be granted.

          125.   The Complaint fails to establish that Plaintiff has standing to assert First

Amendment claims.

          126.   Defendants Cuomo is entitled to immunity.

          127.   The Complaint is barred, in whole or in part, by the Eleventh Amendment.

          128.   At all relevant times Defendant acted under the reasonable belief that his conduct

was in accordance with clearly established law. He is, therefore, protected under the doctrine of

qualified immunity.

          129.   Plaintiff’s claims are barred in whole or in part because it failed to mitigate its

damages, if any.

                                    ADDITIONAL DEFENSES

          150.   The NRA violated NY law by marketing insurance without a license.

          151.   Chubb, Lockton and Lloyd’s violated NY law as set forth in the consent orders, and

nothing in those consent orders can reasonably be interpreted to violate NRA’s constitutional

rights.

          152.   The guidance letters were issued as part of the clear regulatory authority held by

the Superintendent and the Department of Financial Services.


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        153.   Defendant Cuomo has First Amendment rights that protect the speech challenged

in the Complaint.

        WHEREFORE, Defendant respectfully request that this Court deny the relief requested,

dismiss the Complaint with prejudice, and grant such other relief as the Court shall deem is just

and proper.

Dated: Albany, New York
       April 16, 2021
                                                LETITIA JAMES
                                                Attorney General of the State of New York
                                                Attorney for Defendants
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TO:     All Counsel of Record via ECF




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